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           Exhibit 4
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Message


From:         Irving, Robert [/O=CRICKET COMMUNICATIONS/OU=SAN DIEGO/CN=RECIPIENTS/CN=RIRVING]
Sent:         3/13/2014 10:47:47 PM
To:           Hutcheson, Doug [/O=CRICKET COMMUNICATIONS/OU=San Diego/cn=Recipients/cn=DHutcheson]; John D. Harkey,
              Jr. [jharkey@harkey.net]; Mark A. Leavitt [mark.a .leavitt@pjc.com]; Mark H. Rachesky, M.D.
              [mrachesky@mhrfund.com]; Michael B. Targoff [mtargoff@hq.loral.com]; Richard Roscitt [rick@rroscitt.com];
              Robert LaPenta [rlapenta@astoncap.com]; Robert Switz [Robertswitz@gmail.com]; Ronald J. Kramer
              [rkramer@griffoncorp .com]
CC:           jyeung@mhrfund.com; ELT [/O=CRICKET COMMUNICATIONS/OU=San Diego/cn=Recipients/cn=ELT]; Arlene Mizrahi
              [amizrahi@mhrfund.com]; Strang, Diane [/O=CRICKET COMMUNICATIONS/OU=San
              Diego/cn=Recipients/cn=dstrang]; Ferris, Elizabeth [/O=CRICKET COMMUNICATIONS/OU=San
              Diego/cn=Recipients/cn=eferris]; Jennifer White [jwhite@hq.loral.com]; Kathleen Chin [kchin@astoncap.com];
              Maryann Fitzgerald [maryann.x.fitzgerald@pjc.com]; Melissa Thomas-Armitage [thomas-
              armitage@griffoncorp.com]; Peggy Sheaks [psheaks@harkey.net]
Subject:      Press Release: AT&T Completes Acquisition of Leap Wireless

Importance:   High


Here is T's press release from a few minutes ago:




                                                                                                           EXHIBIT

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f\T&T Completes f\cquisition of Leap Wireless DALU\S···(BUSif\JESS \NIRE)···Marcl1 13, 2014-·

AT&.Tec tociay closed its acquisition of prepaid wireless provider Leap Wireless International lne,, which operates
under tile Cricket brand. AT&.T announced in July 2013 that it would acquire all of Leap's stock and wireless
properties, including licenses, network assets, retail stores and subscribers for $"15 per share in cash. L.eap
shareholders will also receive a contingent right entitling tllern to the net proceeds received on the sale of l...eap'c,
700 MHz ''A Block'' spectrwr: in Chicago, wl7icl7 l..eap purchased for $204 rnillion in i.\ugust: 2012..

In the coming weeks, Cl"icket will be integrated with AT&T's e:<isting operations to create the new Cricket:."" The
new Cricket will shake up the no- contract segrnent with a cmr:bination of simple, low-cost rate plans; a terrific
lineup of smartphones; and a great nebNork experience. The new Cricket will have access to AT&Ts natiomvide 4C
UT: network covering nearly 280 irlillion people. AT&T will gain access to Cricket's distribution channels and will be
able to expand Cricket's presence to additional U.S. cities.

Cricket's network currently covers approximately 97 n1illion people in 35 U.S. states, and Cricket had 4.5/ million
customers as of February 28, 2014. Customer migrations are expected to be con1pleted approximately 18 months
after the launch of the nevv Cricket.

In addition to Cricket's operations, AT&T also acquired spectrum in the PCS and AvVS bands covering nearly 138
million people. This spectrum is largely complenientary to AT&.T's existing spectrum holdings and includes
unutilized spectrum covering 41 million people. ATl:H will immediately begin to put the unutilized spectrum to use
to support 4C L.TE services for its customers. This additional spectrum will provide additional capacity and enhance
network performance for customers using smartphones and other mobile Internet devices.

Tile deal was subject to approval by Leap's shareholders and to review by tile Federal Communications
Commission (FCC) and the Departrr:ent of Justice. The FCC approved the transaction within its 180-day review
clock, i.\T&T will update its full-year 2014 guidance to reflect the i,r:pact of this t:i-ansact:ion when it: announces first-
quarter 2014 results on i.\pril n, 2014.

As of close, l...eap had about 79.8 rnillion shares outstanding. l..eap will be delisted from the NASDAQ. Forrner l..eap
stockholders should visit the l..eap Wireless investor relations website for rnore information.

~r\T&T products and services are provided or offered by subsidiaries and affiliates of ATl:H Inc. under tile AT&.T
brand and not by AT&T Inc,

ececThe new Cricket will be an imiependently operated, wholly owneci subsiciiary of AT&T.

About AT&T

AT&.T Inc. (NYSE:T) is a premier communications holding company and one of tile most honored companies in the
world. Its subsidiaries and affiliates -- AT&T operating cmr:panies -- are the providers of AT&T services in the
Uniteci States and internationally. With a pmverful array of network resources that includes the nation's most
reliable 4C LTE network, AT&T is a leadinq provicier of wireless, Wi+i, high speeci Internet, voice and clomi-based
services, A leader in mobile Internet, f\T&T also offers tile best wireless coverage worldwide of any U,S. carrier,
offering the most wireless phones that work in tile most countries. It also offers advanced TV service with the
AT&T U-verse(R) brand. The company's suite of IP-based business comrrnmications services is one of the most
advanced in the world.

Reliability claim based on data transfer completion rates on nationwide 4G LTE networks. LTE is a trademark of
ETSI. 4C LTE not available everywhere.

f\dditional information about ATl:H Inc. and the products and services provided by ATl:H subsidiaries and affiliates
is available at http://www.att.com/aboutus or follow our news on Twitter at @!\TT, on Facebook at
http://www.facebook.com/ att and YouTube at http://www.youtube.com/att.




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Cautionary L.anguage Concerning Forward-Looking Staternents

Information set forth in this news release contains financial estimates and other forward ··looking statements that
are subject t:o risks and uncertainties, and actual results rnay differ materially. A discussion of factors that: ,r:ay
affect future results is contained in ATtkT's filings with the Secul"it:ies and E:<change Cmr:ff:ission. AT&T disclaims
any obligation to update or revise statements contained in this news release baseci on new information or
otherwise.




Roberta Thornson, 2'14-205-4.1.02

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Access Investor Kit for AT&T, Inc.

Visit b_ttp_;_//www.companyspotliqht.com/partner?cp code==A591&isin==US00206R1023




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